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IN 'I'HE UNITED STATES DISTRICT COURT

FOR THE wEsTERN DISTRICT OF TENNESSEE ,
wEsTERN DIvIsION 05 JUN 30 PH 5' 93

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WILLIAM M. LINEBERRY,
Petitioner,

vs. No. OB-2lO4-Ml/V

WARDEN, FMC-BUTNER,

Respondent.

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ORDER VACATING MAY 31, 2005, ORDER AND JUDGMENT
ORDER DENYING PETITION PURSUANT TO 28 U.S.C'. § 2241
ORDER CERTIFYING APPEAL NOT 'I‘AKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner WillianlM. Lineberry, Bureau.of Prisons inmate
registration number 16394-076, an inmate at the Federal Medical
Center in Butner, North Carolina, filed a pro §§ petition pursuant
to 28 U.S.C. § 2241 on January 31, 2005. The Court issued an order
on April 2l, 2005, directing the Petitioner, within thirty (30)
days, to file a properly completed in fgrma pauperis affidavit
demonstrating' his indigency, along with an inmate trust fund
account statement, or pay the habeas filing fee. Because it
appeared that Lineberry' had not complied with, or otherwise
responded to, this order within the specified time, the Court

issued, an order on, May' 31, 2005, dismissing the ;petition. for

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failure to prosecute. Judgment was entered on May 31, 2005. Upon
receipt of the dismissal order, a relative of Lineberry contacted
the Clerk and provided a receipt number demonstrating that he paid
the habeas filing fee on May 2, 2005. The Clerk apparently failed
to record that fact on the docket sheet or to place a copy of the
receipt in the case file. As the Petitioner timely complied with
the Court’s order, the Court VACATES the May 31, 2005, dismissal
order and judgment.

On October 29, 1998, a federal grand jury returned a
four-count indictment against Lineberry. The first count charged
Lineberry with possession of cocaine on or about October 14, 1997,
with the intent to distribute, in, violation of 21 U.S.C. §
841(a)(1). The second count charged Lineberry with possession of
cocaine base on or about May 4, 1998, with the intent to
distribute, in violation of 21 U.S.C. § 84l(a)(l). The third count
charged Lineberry with possession of cocaine base on or about May
8, 1998, with the intent to distribute, in violation of 21 U.S.C.
§ 841(a)(1). The fourth count charged Lineberry with possession of
methamphetamine on or about August 6, 1998, with the intent to
distribute, in violation of 21 U.S.C. § 841(a)(1).

Pursuant to a written plea agreement, Lineberry appeared
before this Court on January 21, 1999, to enter a guilty plea to
the fourth count of the indictment. In exchange, the Government

agreed to move for dismissal of the first three counts of the

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indictment at the sentencing hearing and to recommend a sentence at
the low end of the guideline range.l The Court issued an order
accepting the guilty plea on January 22, 1999.

After reviewing the presentence report, Lineberry filed
his objection on April 1, 1999. Thereafter, on April 26, 1999, the
Court advised the parties that it was rejecting the plea agreement
because Lineberry had denied facts relating to his guilt on Count
4 of the indictment. Lineberry filed a motion for reconsideration
on April 28, 1999, along with an amended response to the
presentence report. The Court conducted a hearing on the motion for
reconsideration on May 5, 1999, at the conclusion of which the
Court announced that the lprevious order rejecting Lineberry's
change of plea would be reversed. A written order to that effect
was entered on May 10, 1999.

The Court conducted a sentencing hearing on May 21 and
September 30, 1999, at which time Lineberry was sentenced to one
hundred nine (109) months imprisonment, to be followed by five

years of supervised release.2 Judgment was entered on October 4,

 

Paragraph 3 of the plea agreement provided as follows:

The parties agree that if the defendant should attempt to
withdravl his guilty' plea for any reason whatsoever, or if he
contends that he is not guilty of the offense or offenses to which
he has pleaded guilty, then the government will not be bound by the
terms of this plea agreement. The parties further agree, howeverf
that the defendant will be bound by this plea agreement should he
attempt to withdraw his guilty plea and not be allowed to do so by
the district court.

2 Pursuant to § 2Dl.l(c)(7) of the United States Sentencing Guidelines
(“U.S.S.G.”), the base offense level for two ounces of methamphetamine is 26.
(continued...)

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1999. The United States Court of Appeals for the Sixth Circuit
affirmed Lineberry’s sentence. United States v. Lineberrv, 7 Fed.
Appx. 520 (6th Cir. Mar. 28, 2001) (per curiam).

Lineberry filed a motion pursuant to 28 U.S.C. § 2255 on
March 18, 2002. Among the issues raised in that umtion was a
challenge to the Court’s factual finding that Lineberry was
responsible for two ounces of methamphetamine. District Judge
Bernice B. Donald issued an order on June 3, 2002, dismissing the
motion and denying a certificate of appealability. Lineberry v.
United States, No. 02-2186-D/A (W.D. Tenn.). Lineberry filed a
motion for reconsideration, which Judge Donald denied in an order
issued on September 6, 2002. Lineberry attempted.to appeal, and the
Sixth Circuit denied a certificate of appealability. Lineberry v.
United States, No. 02-5924 (6th Cir. Mar. 19, 2003).

Lineberry has now filed a petition for a writ of habeas
corpus pursuant to 28 U.S.C. § 2241 in which he seeks a reduction
of his sentence pursuant to the Supreme Court's decisions in
Blakely v. Washington, 124 S. Ct. 2531 (2004), and United States v.
Booker, 125 S. Ct. 738 (2005). Lineberry filed another document on
February 8, 2005, consisting of (i) excerpts from the presentence

report, along with a note from Lineberry challenging the drug

 

2 (. . .continued}
Lineberry received a two-level enhancement for obstruction of justice pursuant
to § 3C1.l, resulting in a base offense level of 28. Given his criminal history
category of III, the guidelines provided a sentencing range from ninety-seven
(97) to one hundred twenty-one (121} months.

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quantity contained in the presentence report; (ii) two pages of
what appears to be a brief in support of Lineberry’s § 2255 motion;
and (iii) a series of certificates attesting to his rehabilitation.

As a preliminary matter, the Western District of
Tennessee is not the proper venue for this § 2241 petition. The
proper venue for a § 2241 petition is the prisoner’s place of
confinement. Wright v. United States Bd. of Parole, 557 F.2d 74, 77
(6th Cir. 1977) (“The habeas corpus power of federal courts over
prisoners in federal custody has been confined by Congress through
28 U.S.C. § 2241 to those district courts within whose territorial
jurisdiction the custodian is located.”); see also United States v.
Griffith, No. 95-1748, 1996 WL 316504, at *2 (6th Cir. June 10,
1996) (to the extent prisoner's filing is construed as § 2241
petition, “the Eastern District of Michigan is not the proper venue
to file a § 2241 motion for one incarcerated in Lompoc,
California”).

Although the Court is authorized, pursuant to 28 U.S.C.
§ l406(a), to transfer this petition to the appropriate judicial
district, transfer is not required where it is apparent that the
petitioner is not entitled to relief on the merits. See[ e.g.,
Passic v. State, 98 F. Supp. 1015, 1016 (E.D. Mich. 1951) (finding
transfer of frivolous habeas petition_ not in the interest of
justice}; see also Safeco Ins. Co. v. Miller, 591 F. Supp. 590, 597

(D. Md. 1984) (transfer would not serve the “interest of justice”

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where the case, if transferred, would merely be dismissed in the
transferee court); Froelich v. Petrelli, 472 F. Supp. 756, 763 (D.
Haw. 1979) (not in interest of justice to transfer case to
California where clain1 is barred. by statute of limitations};
Via io v. Field, 177 F. Supp. 643, 645 (D. Md. 1959). The Court
determines, as discussed below, that Lineberry is not entitled to
relief under § 2241. Accordingly, the interests of justice do not
demand that this petition be transferred.3

Habeas corpus would be available to the inmate if “the
issues raised more accurately challenged the execution of the
sentence than its imposition.” Wright v. United States Bd. of
Paroler 557 F.2d. 74, 78 (6th. Cir. 1977). On the other hand,
“[s]ection 2255 . . . has been conceived to be limited to those
claims which arise from the imposition of the sentence as
distinguished from claims attacking the execution of the sentence.”
ida at 77; cf. United States v. Jalili, 925 F.2d 889, 893 (6th Cir.
1991) (“Because defendant Jalili is challenging the manner in which
the sentence is executed, rather than the validity of the sentence
itself, Section 2255 does not apply.”). For federal prisoners
seeking habeas-type relief, the only remedy is through a motion to
vacate pursuant to 28 U.S.C. § 2255. Charles v. Chandler, 180 F.3d
753, 755-56 (6th Cir. 1999} (per curiam); In re Hanserd, 123 F.3d

922, 933 (6th Cir. 1997).

 

3 This conclusion is reinforced by the fact that this Court presided

over Lineberry's guilty plea and sentencing.

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Federal prisoners may obtain habeas corpus relief
pursuant to 28 U.S C. § 2241 only under limited circumstances. The
fifth paragraph of § 2255, known as the “savings clause,” provides
as follows:

An application for a writ of habeas corpus in behalf

of a prisoner who is authorized to apply for relief by
motion_pursuant to this section, shall not be entertained
if it appears that the applicant has failed to apply for
relief, by motion, to the court which sentenced him, or
that such court has denied him relief, unless it also
appears that the remedy by motion is inadequate or
ineffective to test the legality of his detention.
28 U.S.C. § 2255. The petitioner carries the burden of
demonstrating that the savings clause applies. Charles, 180 F.3d at
756.

The Sixth Circuit has construed the savings clause

narrowly:

Significantly, the § 2255 remedy is not considered
inadequate or ineffective simply because § 2255 relief
has already been denied . .. , or because the petitioner
is procedurally barred from pursuing relief under § 2255
. . , or because the petitioner has been denied
permission to file a second. or successive 1motion to
vacate.

Charles, 180 F.Bd at 756; see also Tripati v. Henman, 843 F.2d
1160, 1162 (9th Cir. 1988) (“A7 remedy is not inadequate or
ineffective under section 2255 merely because the sentencing court
denied relief on the merits ”). Furthermore, the § 2255 remedy is
not inadequate or ineffective merely because, as here, the one-year

statute of limitations has expired. Charles, 180 F.3d at 758.

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Subsequent to the decision in Charles, the Sixth Circuit
reemphasized the narrow scope of the savings clause:

The circumstances under which § 2255 is inadequate
and ineffective are narrow, for to construe § 2241 relief
much more liberally than § 2255 relief would defeat the
purpose of the restrictions Congress placed on the filing

of successive petitions for collateral relief. . . . As
we explained in Charles, “[t]he remedy afforded under §

2241 is not an additional, alternative or supplemental
remedy to that prescribed under § 2255.”

United States v. Peterman, 249 F.3d 458, 461 (6th Cir. 2001)
(quoting Charles, 180 F.3d at 758)).4

Moreover, in order to obtain relief pursuant to 28 U.S.C.
§ 2241, the habeas petitioner must be “actually innocent” of the
crime of which he has been convicted. Martin v. Perez, 319 F.3d
799, 804-05 (6th Cir. 2003); Charles, 180 F.3d at 757 (“No circuit
court has to date permitted a post-AEDPA petitioner who was not
effectively making a claim of ‘actual innocence’ to utilize § 2241
(via § 2255's ‘savings clause') as a way of circumventing § 2255’5
restrictions on the filing of second or successive habeas
petitions.”); see also Peterman, 249 F.3d at 462 (“Without
determining the exact scope of the savings clause, we conclude that
defendants' claims do not fall within any arguable construction of

it because defendants have not shown an intervening change in the

 

4 See also Wofford v. Scott, 177 F.3d 1236, 1244 (1lth Cir. 1999) (the
entire federal criminal procedure statutory scheme, encompassing trial, direct
appeal, and one opportunity for collateral review, ensures that “a petitioner
will have had ‘an unobstructed procedural shot at getting his sentence vacated.'

. That does not mean that he took the shotr or even that he or his attorney
recognized the shot was there for the taking. All the Constitution requires, if
it requires that much, is that the procedural opportunity have existedJW
(quoting In re Davenport, 147 F.3d 605, 609 (7th Cir. 1998)).

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law that establishes their actual innocence.”). “A petitioner must
show factual innocence, not mere legal insufficiency, to raise such
a claim.” Gesuale v. Sanders, 63 Fed. Appx. 875, 876 (6th Cir. May
14, 2003); see also Bouslev v. United States, 523 U.S. 614, 623
(1998).

In this case, the Court cannot grant relief on the basis
of Lineberry's objection to the drug quantity in the presentence
report as that issue pertains to the imposition of Lineberry’s
sentence rather than its execution. Moreover, those issues were
raised in the sentencing hearing, where the Court rejected them on
the merits. Lineberry also raised the issue in his § 2255 motion,
where it was rejected as not cognizable in a § 2255 motion and on
the HErits. Lineberry v. United States, No. 02-2186-D/A (W.D.
Tenn.), 06/03/02 Order at 4-6; see also id; at 12-13. Lineberry
reiterated his objections to the drug quantity in his motion for
reconsideration, and Judge Donald again rejected those arguments.
09/06/02 Order at 2-3. A § 2241 petition is not an appropriate
forum for relitigating matters that have been previously decided.

Lineberry is also not entitled to relief pursuant to the
Supreme Court's recent decisions in United States v. Booker, 125 S.
Ct. 758 (2005), and Blakelv v. Washington, 124 S. Ct. 2531 (2004).
Firstr these claims go to the imposition of Lineberry's sentence
rather than its execution, making them inappropriate for a § 2241

petition. See su ra pp. 6-7.

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Second, the Sixth Circuit has held that a claim pursuant
to Apprendi v. New Jersev, 530 U.S. 466 (2004)r cannot be raised in
a. § 2241 petition. Bannerman. v. Snyder, 325 F.3d 722, 723-24
(2003). The Sixth. Circuit explained. that “{a] challenge to a
sentence based on Apprendi cannot be the basis for an actual
innocence claim under Martin [v. Perezl.” Id. at 724. Likewise,
because Lineberry has no valid argument that he is actually
innocent, he cannot raise his Blakely and Booker claims in a § 2241
petition.5

As Lineberry' is not entitled to invoke § 2241, “it
appears from the application that the applicant or person detained
is not entitled” to any relief. 28 U.S.C. § 2243. An order for the
respondent to show cause need not issue. The petition is DISMISSED.

Appeals of habeas petitions under 28 U.S.C. § 2254 and
motions under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and
require the district court to consider whether to issue a
certificate of appealability. Stanford.v. Parker, 266 F.3d.342 (6th

Cir. 2001); Lvons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th

 

5 Finally, only prisoners whose convictions had not become final when

the decisions in Blakely and Booker were issued are entitled to relief on the
basis of those decisions. “As a general rule, new constitutional decisions are
not applied retroactively to cases that were finalized prior to a new Supreme
Court decision." Goode v. United States, 305 F.3d 378, 383 (6th Cir. 2002); §§§
Schriro v. Summerlin, 124 S. Ct, 2519, 2522-26 (2004} (holding that decision in
Ring v. Arizona, which held that a sentencing judge in a capital case may not
find an aggravating factor necessary for imposition of the death penalty, and
that the Sixth Amendment requires that those circumstances be found by a jury,
does not apply retroactively to cases on collateral review); Teague v. Lane, 489
U.S. 288 (1989). Applying these standardsr the Sixth Circuit has held that
Blakely and Booker issues cannot be raised in an initial motion pursuant to 28
U.S.C. § 2255. Humphress v. United States, 398 F.3d 855, 860-63 (6th Cir. 2005).

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Cir. 1997). Section 2253 does not apply to habeas petitions by
federal prisoners under § 2241. Mclntosh v. United States Parole
Comm'n, 115 F.3d 809, 810 (10th Cir. 1997); Ojo v. Immigration &
Naturalization Serv.r 106 F.3d 680, 681-82 (5th Cir. 1997);
Bradshaw v. Storv, 86 F.3d 164, 166 (10th Cir. 1996). Nevertheless,
a habeas petitioner seeking to appeal is still obligated to pay the
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917. Under the
Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915, it
is unclear how habeas petitioners establish a right to proceed in
fg;ma pauperis and avoid this filing fee.

Although the Sixth Circuit has concluded that the various
filing fee payment requirements and good faith certifications of
amended § 1915 do not apply to § 2254 cases, it has not resolved
whether- these requirements apply to § 2241 cases. Kincade v.
Sparkman, 117 F.3d 949, 951-52 (6th Cir. 1997); gf; McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases,
without mentioning § 2241 petitions).

The Tenth Circuit, however, has held that the provisions
of the PLRA do not apply to habeas cases of any sort or to § 2255
motions, §§§ Mclntosh, 115 F.3d at 810; United States v. Simmonds,
111 F.3d 737, 743 (10th Cir. 1997}. An unpublished Sixth Circuit
opinion has adopted this approach in affirming a decision from this

district. Graham v. United States Parole Comm'n, No. 96-6725, 1997

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WL 778515 (6th Cir. Dec. 8, 1997), aff’g Graham v. United States,
No. 96-3251-Tu {W.D. Tenn. Dec. 4, 1996). Because the Court finds
the reasoning of Mclntosh persuasive, and because the Court finds
that this conclusion naturally follows from the Sixth Circuit's
decision in Kincade, the Court concludes that the PLRA does not
apply' to § 2241 petitions. Cf. Greene v. Tennessee Dep't of
Corrections, 265 F.3d 369 (6th Cir. 2001) (certificate of
appealability requirement is applicable to state prisoner bringing
§ 2241 petition).

Pursuant to Kincade, a petitioner must seek leave to
proceed ip fp;p§ pauperis from the district court under Fed. R.
App. P. 24(a)(1), which provides:

Except as stated in Rule 24(a)(3), a party to a

district-court action who desires to appeal in

forma pauperis must file a motion in the district
court. The party must attach an affidavit that:

(A) shows in the detail prescribed by Form 4 of the
Appendix of Forms the party’s inability to pay or
to give security for fees and costs;

(B) claims an entitlement to redress; and

(C) states the issues that the party intends to
present on appeal.

Fed. R. App. P. 24(a)(l)

The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith and. to deny the
certificate if the appeal would be frivolous. Fed. R. App. P.

24(a)(3).

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). lt would be inconsistent
for a district court to determine that a complaint does not warrant
service on the respondent, yet has sufficient merit to support an
appeal pp forma pauperis. See Williams v. Kullman, 722 F.2d 1048,
1050 n.l (2d Cir. 1983). The same considerations that lead the
Court to dismiss this petition also compel the conclusion that an
appeal would not be taken in good faith. lt is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter
by Petitioner is not taken in good faith, and he may not proceed on

appeal pp forma pauperis.
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IT lS SO ORDERED this \ELV day of June, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 8 in
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Honorable J on McCalla
US DISTRICT COURT

